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15
                           UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
17
                                      WESTERN DIVISION
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                                                   Case No. 2:22-cv-04355-JFW-JEM
20
      Yuga Labs, Inc.,
21                                                 DISCOVERY MATTER
                                      Plaintiff,
22
                                                   SUPPLEMENTAL
23          v.                                     MEMORANDUM IN SUPPORT OF
                                                   MR. RIPPS AND MR. CAHEN’S
24
      Ryder Ripps, Jeremy Cahen, Does 1-10,        MOTION TO COMPEL
25
                                                   Hearing: Jan. 24, 2023, at 10:00 p.m.
26
                                  Defendants.
27
28

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 1   I.    INTRODUCTION
 2         Yuga has twisted the Court’s December 16, 2022, order to justify its refusal to
 3   cooperate in discovery. Contrary to Yuga’s assertion, Judge Walter did not hold that
 4   “the Rogers test does not apply in this case.” Dkt. No. 69-1 at 30. Rather, Judge
 5   Walter issued a decision on a motion at the pleadings stage in which he was required
 6   to assume that Yuga’s allegations were true, to determine whether the Complaint
 7   alleged plausible claims for relief. Nothing about Judge Walter’s decision limits the
 8   scope of this case or the scope of discovery. In fact, Judge Walter confirmed that
 9   Yuga’s “pretextual expressive work” response to Defendants’ First Amendment
10   defenses is a key issue of dispute. See Dkt. No. 62 at 7. Defendants seek discovery
11   that would refute Yuga’s pretext theory.
12         Further, contrary to Yuga’s assertions, this is not just a trademark case.
13   Defendants Ryder Ripps and Jeremy Cahen have counterclaims alleging actions under
14   copyright law, the Declaratory Judgement Act, and California state law. Defendants
15   have alleged a claim for intentional infliction of emotional distress based on Yuga’s
16   pattern of harassing behavior. Defendants have alleged that Yuga took these actions
17   to punish and silence the Defendants for creating artworks criticizing Yuga’s use of
18   neo-Nazi messages and imagery. Defendants have also requested a declaration of no
19   defamation based on Yuga’s public accusations that Defendants used their artworks in
20   a way that was “slanderous,” to lie about Yuga’s use of racist imagery. The scope of
21   discovery is commensurate with these counterclaims and, thus, requires Yuga to
22   produce information under Interrogatory No. 14 and Document Requests Nos. 5, 7-9,
23   32-34, 39, 51, and 53.
24   II.   ARGUMENT
25         A.     Defendants Are Entitled to Discovery on Yuga’s Pretext Theory
26         Judge Walter made clear in his December 19, 2022, order that Yuga’s
27   trademark infringement claims depend on showing that Defendants engaged in First
28   Amendment activity only as a pretext, as Yuga has alleged. Dkt. No. 62 at 7 (holding

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 1   that use of a mark “would not be artistically relevant for a pretextual expressive work
 2   meant only to disguise a business profiting from another’s trademark, which is
 3   precisely what Plaintiff has alleged Defendants are doing in this case” (emphasis
 4   added)). Thus, if Yuga’s pretext theory is incorrect as a factual matter, its trademark
 5   claims will not prevail at trial.
 6          Courts in this jurisdiction have recognized that a pretext theory can be refuted
 7   by showing that the speech at issue is true. See, e.g., Daniels v. G4s Secure Solutions
 8   USA, Inc., 8:20-cv-00283-JGB-JDEx, 2021 WL 3742039, at *12-13 (C.D. Cal. Jan. 4,
 9   202) (granting discovery on whether reasons for not hiring were truthful or
10   pretextual). And this is exactly what Defendants intend to do with Interrogatory No.
11   14 and Document Requests Nos. 5, 7-9, 32-34, 39, 51, and 53. Defendants seek
12   discovery that would confirm the truth of their criticism and disprove that their speech
13   activity is pretextual in any way. This discovery would effectively foreclose Yuga’s
14   trademark infringement theory and is therefore well within the scope of discovery set
15   forth in Federal Rule 26.
16          B.     Defendants Seek Discovery on Yuga’s Motive and Intent
17          Defendants have asserted a counterclaim for intentional infliction of emotional
18   distress (“IIED”) based on Yuga’s systematic retaliation and harassment of
19   Defendants over the course of many months. Defendants have alleged that Yuga’s
20   pattern of misconduct includes using intimidation tactics to threaten the well-being of
21   Defendants and their families, explicit death threats by a Yuga employee, lying to the
22   media and on public platforms to make Defendants appear to be racist or criminal, and
23   submitting fraudulent DMCA notices to purge the internet of Defendants’ artworks.
24   Yuga has engaged in this outrageous behavior to silence Defendants’ artistic criticism
25   regarding Yuga’s use of neo-Nazi messages and imagery. Defendants seek to compel
26   discovery that would confirm Yuga’s motivation and intent behind its pattern of
27   harassing and threatening behavior.
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 1         This court has previously held that an IIED claim permits parties to take
 2   discovery into the plaintiff’s theory of motive. Burke v. Basil, No. 82-CV-0635-JVS-
 3   JDEx, 2020 WL 7872965, at *2 (C.D. Cal. Nov. 16, 2020). In Burke, the plaintiff
 4   alleged that the defendant inflicted emotional distress by making “false accusations of
 5   sexual abuse to silence Plaintiff’s complaints [about defendant’s sexually
 6   inappropriate conduct].” Id. The court granted discovery into the defendant’s own
 7   sexual misconduct because the truth of the defendant’s misconduct would prove the
 8   plaintiff’s motivation theory for his IIED claim. Id. Yuga has in fact conceded that
 9   “Burke is about what discovery a plaintiff can get into the defendant’s motives for the
10   defendant’s actions” and that it concerns “classic intent discovery.” Dkt. No. 69-1 at
11   36.
12         Here, Defendants’ interrogatories and document requests serve a similar
13   purpose of proving Yuga’s motive. Yuga’s pattern of harassment and bullying was
14   aimed at silencing Defendants’ criticism relating to Yuga’s use of neo-Nazi messages
15   and imagery. With sufficient discovery, Defendants will demonstrate motive and
16   intent by pointing to evidence that Yuga was aware of the truth behind Defendants’
17   criticism and, therefore, attempted to conceal that truth by silencing Defendants. In
18   Yuga’s own words, this is “classic intent discovery.”
19         C.     Defendants are Entitled to Discovery that Shows No Defamation
20         Defendants have also asserted a claim for declaratory judgment of no
21   defamation based on Yuga’s repeated statements that Defendants are using their
22   artworks to lie about Yuga’s use of racist imagery. For example, Yuga sent two of its
23   four co-founders, Wylie Aronow and Greg Solano, on the Full Send Podcast where
24   they associated Defendants’ artworks with spreading a “conspiracy theory” and lying
25   about Yuga’s use of neo-Nazi messages and imagery. These statements alone reached
26   an audience of at least 1.7 million people. Yuga has also publicly stated that
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 1   Defendants’ statements are “slanderous.” Accordingly, Defendants seek a declaratory
 2   judgment that the criticism associated with Defendants’ artworks is not defamatory.
 3          Defendants Interrogatory No. 14 and Document Requests Nos. 5, 7-9, 32-34,
 4   39, 51, and 53. seek discovery that would show no defamation based on the
 5   affirmative defense of truth. The law is clear that “[t]ruth, of course, is an absolute
 6   defense to any libel action.” Campanelli v. Regents of Univ. of Cal., 44 Cal. App. 4th
 7   572, 581-582 (Cal. 1996); see also Eisenburg v. Alameda Newspapers, 74 Cal. App.
 8   4th 1359, 1382 (Cal. 1999) (“In defamation actions generally, factual truth is a
 9   defense which it is the defendant’s burden to prove.”). Discovery relating to Yuga’s
10   use of racist messages and imagery would provide the evidence necessary to show that
11   Defendants’ criticism is true and that no defamation has occurred.
12          D.     Yuga’s Supplements Are Inadequate
13          Yuga incorrectly states that it has made adequate supplements to Interrogatory
14   No. 2 and Document Requests Nos. 17, 28, 29, and 48. Yuga’s production is woefully
15   inadequate. As noted in Defendants’ January 3, 2023, supplemental memorandum
16   (Dkt. No. 70), even including its most recent supplement, Yuga has produced fewer
17   than 200 non-public documents in this entire litigation to date. This extraordinary
18   deficiency after four months of discovery suggests that Yuga is not complying in good
19   faith with its discovery obligations.
20          With regards to Interrogatory No. 2, Yuga provided a supplemental response
21   stating that “Wylie Aronow, Greg Solano, and a third-party designer engaged by
22   Wylie Aronow and Greg Solano participated in the design or creation of the Asserted
23   Marks.” Dkt. No. 70-6 at 11. This response improperly omits the identity of the third
24   party retained by Aronow and Solano. The response also omits all designers
25   associated with the creation of the BAYC images, which Yuga admits were marketed
26   in commerce together with the Asserted Marks and which also contain many of the
27   racist traits subject to discovery in this litigation.
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 1          Document Request No. 17 requests documents relating to Yuga’s document
 2   retention practices. But Yuga has produced absolutely no documents responsive to
 3   this request. Yuga notes that it does not have a “formal” document retention policy,
 4   but that does not excuse producing documents that disclose Yuga’s document
 5   retention practices.
 6          Document Requests Nos. 28 and 29 request documents on lack of consumer
 7   confusion. Here, Yuga has produced only a few samples. This is not the standard for
 8   discovery. Yuga is obligated to produce all responsive documents in its possession
 9   after conducting a reasonable investigation, and this Court should order Plaintiff to do
10   so.
11          Finally, Document Request No. 48 seeks documents relating to damages. But
12   again, Yuga has produced absolutely no documents associated with any damages that
13   Yuga has suffered because of Defendants’ artworks.
14   III.   CONCLUSION
15          Defendants request that this Court grant Defendants’ motion to compel.
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18   Dated: January 10, 2023                 By: /s/ Louis W. Tompros
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that a copy of the foregoing document was served on all attorneys
 3   of record via the Court’s ECF system on January 10, 2023.
 4
 5
 6                                          By: /s/ Louis W. Tompros
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